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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


C47 TECHNOLOGIES LLC,

              Plaintiff,

v.                                               Civil Action No. 2:24-CV-00372-JRG

SAMSUNG ELECTRONICS CO., LTD.,                              (LEAD CASE)
SAMSUNG ELECTRONICS AMERICA,
INC.,                                               JURY TRIAL DEMANDED

              Defendants.


C47 TECHNOLOGIES LLC,

              Plaintiff,

v.                                               Civil Action No. 2:24-CV-00406-JRG

LENOVO GROUP LTD., et al.,                                  (MEMBER CASE)

              Defendants.


     UNOPPOSED MOTION FOR EXTENSION OF TIME TO MOVE, ANSWER OR
        OTHERWISE RESPOND TO PLAINTIFF’S AMENDED COMPLAINT

       LCFC (Hefei) Electronics Technology Co. Ltd. d/b/a LC Future Center and Lenovo

Compal Future Center, Lenovo (Beijing) Limited, Lenovo (Shanghai) Electronics Technology Co.

Ltd., Lenovo (Thailand) Limited, Lenovo Centro Tecnolgico S. de R.L. de C.V., Lenovo

Information Products (Shenzhen) Co. Ltd., Lenovo PC HK Ltd., Motorola Mobile Communication

Technology Ltd., and Motorola (Wuhan) Mobility Technologies Communication Company

Limited (“New Defendants”) move the Court to extend the time within which they are required to
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move, answer, or otherwise respond to Plaintiff’s First Amended Complaint. In support of their

Motion, New Defendants state as follows:

         1.       On June 3, 2024, Plaintiff filed its Original Complaint alleging patent infringement

against Lenovo Group Ltd, Lenovo (United States) Inc., and Motorola Mobility LLC (“Original

Defendants,” collectively).

         2.       The Original Defendants filed a Motion to Dismiss the Original Complaint on

October 23, 2024.

         3.       In response, Plaintiff filed a First Amended Complaint on November 13, 2024,

adding the New Defendants as defendants in this case.

         4.       The Original Defendants filed a Motion to Dismiss the First Amended Complaint

as to the New Defendants on December 13, 2024.

         5.       On January 2, 2025, Plaintiff filed a notice that the summons for the New

Defendants were executed on December 20, 2024 for the New Defendants.1

         6.       Counsel for New Defendants and Counsel for Plaintiff have agreed to a 60-day

extension of time for all New Defendants to answer or otherwise plead by March 11, 2025.

         WHEREFORE, Defendants LCFC (Hefei) Electronics Technology Co. Ltd. d/b/a LC

Future Center and Lenovo Compal Future Center, Lenovo (Beijing) Limited, Lenovo (Shanghai)

Electronics Technology Co. Ltd., Lenovo (Thailand) Limited, Lenovo Centro Tecnolgico S. de

R.L. de C.V., Lenovo Information Products (Shenzhen) Co. Ltd., Lenovo PC HK Ltd., Motorola

Mobile Communication Technology Ltd., and Motorola (Wuhan) Mobility Technologies

Communication Company Limited, respectfully request that the time in which they are required



1
  The New Defendants do not agree that they have been properly served. By submitting this request for extension to
respond, no defendant is waiving any rights to challenge the sufficiency of service, nor any other basis for seeking to
dismiss this complaint, including personal jurisdiction, venue, or failure to state a claim.
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to move, answer, or otherwise respond to Plaintiff’s First Amended Complaint for Patent

Infringement be extended up to and including March 11, 2025.
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Dated: January 6, 2025                                Respectfully submitted,

                                                       /s/ Melissa R. Smith
                                                      Melissa R. Smith
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                                                      Attorney for New Defendants



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic services are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3) on this the 6th day of January, 2025.



                                                         /s/ Melissa R. Smith
                                                        Melissa R. Smith


                              CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for New Defendants met and conferred

with counsel for Plaintiff. Counsel for Plaintiff indicated that it is unopposed to this motion.



                                                         /s/ Melissa R. Smith
                                                         Melissa R. Smith
